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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA
SAN FERNANDO VALLEY DIVISION

Case No.: 1:24-bk-10646-MB

SYNAPSE FINANCIAL TECHNOLOGIES, | Chapter 11

INC.,,

HEARING APPEARANCES REPORT

Debtor. Hearing

Date: May 14, 2024

Time: 1:00 p.m.

Ctrm: 303
United States Bankruptcy Court
Central District of California
21041 Burbank Boulevard
Woodland Hills, CA 91367

Parties appeared by Zoom.Gov audio and video
only

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Alex Rheaume Morrison & Foerster LLP ‘ First-Citizens Bank & Trust Company x
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2 [Beth Young Levene, Neale, Bender, Yoo & Golubchik Debtor, Synapse x
4 [Caroline Stapleton Orrick Herringten & Sutcliffe LLP Evolve Bark & Trust x
5 [Darren Azman McBermott Will & Emery TriplePoint Capital x
& | David Poltras BG Law LLP Evolve x
7 | Monica Kim Levene, Neale, Bender, Yoo & Golubchik Debtor x
& [RON BENDER LEVENE, NEALE, BENBER, YOO & DEBFOR, SYNAPSE FINANCIAL TECHNOLOGIES, INC, xX
9 {Russ Clementson Office of the United States Trustee United States Trustee x
10 {tracey |guerin synapse xX
12 fF Michael Gottfried Elkins Kait " |¥otta Fechnologies X
12 FA 5 ¥S
13 jAaron Strain Nore
14 [Adam Moelis Yotta
15 JAdam Goldberg latham & Watkins LLP Party In interest
16 {Adhish Thite : Synapse
17 JAlan Silbert INK
18 J Alex Adams Evolve
15 |Alex Gerson Employee of Yotte Technologies Inc
20 [Alex Constantine General Listener
27 [Alexander [Berk Barack Ferrazzano Kirschbaurn & Nagelberg [American Bank N.A.
2? [Alexander Severance Morrison & Foerster LLP First-Citizens
23 [Allen Yordy Myself
24 [Andre Herrera Capital inc
25 [Anil Punjabi TClub inc
Ashley McDonnell Synapse Observer
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Audrey Jones DishOut
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28 [Aurimas Rimkus Synapse
29 [Ben Dayle Yotta Technologies
30 | Benjamin Waisbren Boies Schiffer Flexner LLP Creditors’ Committee
31 [Balan Bressan Synapse
32 | Beayan Lopez Brayan Lopez
33 [Carlos Castillo N/A Evolve Bank & Trust
34 [Celeste Ferber : Mercury Technologies
35 [Charlie Deutsch NA
Chris Glenos Bradley Arant Soult Curnmings 12P Uneage Bank
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37 [Chris Crawley DishOut
38 [Claude Elivert Synapse
38 | Colin Smith None Myself
40 [Connor Effenberger Myself
41 | Danielle Barav-Johnsan Kilpatrick Townsend & Steckton LLP TClub inc.
42 | David Greene ‘ Evolve
43 [David Berkowitz IDE
Davis Ktaba Latham & Watkins LLP DolarApp Ine.
44 ,
A4& |Delveonte [Charleston Grid Money
46 [Doug Dvorak Upright ¢ba FEF
AT [Douglas J Hurst Synapse
48 [ELAN LEVEY USAO FEDERAL GOVERNMENT
AS Emily Mason Forbes
50 | Felipe Penna none
51 first last fintech
52 | Fred Neufeld Stradling Yocea Lineage Bank
53 [Georgina Richardson NA Yotta Customer
54 [Glenn Glazer Self
55 [Guy Gandenberger Synapse
56 [Howard Steel Goodwin Yieldstreet
Hrishi Dixit Yieldstreet
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58 jHussain Aljadani N/A
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62 Halil Halloway Jatt] Hallaway
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70 Jiilana Downing : employee of synapse
71 John Doe Myself
72 [Jahn Hermann self
73 [John Thermson Self
74 [fordan Carey Juno Users
75 [joshua Zumbuehl Myself :
76 |fuan Pablo jJaramilio Former Employee
77 [kathleen fikzpatrick ‘ myself
78 [Kathleen Utecht Self
79 [Kayla Macre Neither
80 IKevin — Thorne TriplePoint Capital
Qt fKirtish Parekh Synapse
82 }Krikor Meshefajian Levene, Neale, Bender, Yoo & Golubchik Synapse Financial Technologies, lnc., Chapter 11 Debtor in
83 jLai Cheung - Synapse - Debtor
84 | Marc Brandenburg Evalye
85 |mario almeida :
86 [Mark Dicamilla Mbanq
87 |Meg Mu nene
88 | Megan P Triple 2
89 | Meredith Mitnick Goodwin Procter interested party
$0 | Micah Brafford Synapse
91 [Michael Farag Gibson, Bunn & Crutcher LLP Mercury Technologies, tne.
92 | Michaet W Customer
93 |Mike Rosen : Synapse
94 |Mitas Diaz Synapserl
95 |Nathan Weiner ‘| PRG Ventures
96 |Nishkeam Mehta Abound
97 | Observer {Hatfield} Hatfield
98 | Olivia Osbourn + {Curacubby
99 [Pam Wismer Synapse
106] Patty Garcia USBC
104| Paul Jimenez myself
102) Praveen Observer na
103| Ramana Murphy-Adair Yotta Customer
104) Renato Steinberg Kiutch Technologies inc
105] Rey Qureshi Friple 2
106] Richard Winslow Yieldstreet
107|Rob Spengier . Myself
10aRoshan ss Syed Synapse
109; Rusht Patel ‘ Homebase
1107Saniyah Gagan Synapse Emaloyee
114#Sankaet Pathak Synapse
112;Sheryl Bollinger AMG National Trust Bank
1134Sid Pailla Sunny Day Fund
114§Siddharth Verma Juno
115 {Stefan [Berglund ' observer
146ESteve Massis Triple 2, inc, DBA DishOut
147 }Steve Khu . Homebase
1148:Steven Smith None
149} Thao Binh abserver
120; Trevor Ford Yotta Technologies, Inc.
121} Tyler Mcintyre public
122)Victar Genao ‘ self
123} ¥arden Carmelk Synapse
jadi Zach Jacobs myself
125i Zev Shechiman Saul Ewing, LLP Official Committee of Unsecured Creditors
Te2blZey Green 1O7 Payment Services, inc - Elroy.app

